Case 9:18-cv-81753-DMM Document 8 Entered on FLSD Docket 02/26/2019 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                   CASE NO. 9:18-cv-81753-DMM

  ALPER AUTOMOTIVE, INC. d/b/a AA IGNITION,
  a Florida corporation,

           Plaintiffs,

  v.

  DAY TO DAY IMPORTS, INC., a California
  corporation,

         Defendant.
  ___________________________________________/



                                    NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that Matthew S. Nelles and Adriana Kostencki of the Law firm

  of Berger Singerman LLP, hereby file this Notice of Appearance as counsel of record on behalf

  of Defendant, DAY TO DAY IMPORTS, INC. in this action, and request that all pleadings,

  notices and correspondence in the above captioned case be served on the addresses below:

       Matthew S. Nelles            Primary:   mnelles@bergersingerman.com
                                    Secondary: mnewland@bergersingerman.com
                                               drt@bergersingerman.com

       Adriana Kostencki            Primary:   akostencki@bergersingerman.com
                                    Secondary: mvillalona@bergersingerman.com
                                               drt@bergersingerman.com




                     350 East Las Olas Boulevard, Suite 1000 Fort Lauderdale, Florida 33301
                      t: 954-525-9900 | f: 954-523-2872 | WWW .BERGERSINGERMAN.COM
Case 9:18-cv-81753-DMM Document 8 Entered on FLSD Docket 02/26/2019 Page 2 of 2



                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 26, 2019, a true and correct copy of the foregoing

  was filed with the Clerk of the Court using CM/ECF which will generate and serve a Notice of

  Electronic Filing to Cole Carlson, Esq., cole.carlson@gray-robinson.com, GrayRobinson, P.A.,

  401 East Jackson Street, Suite 2700, Tampa, Florida 33602.

                                                          BERGER SINGERMAN LLP
                                                          350 East Las Boulevard, Suite 1000
                                                          Fort Lauderdale, FL 33301
                                                          Telephone: (954) 525-9900
                                                          Facsimile: (954) 523-2872

                                                          By: s/ Matthew S. Nelles
                                                               Matthew S. Nelles
                                                               Florida Bar No. 009245
                                                               mnelles@bergersingerman.com
                                                               Adriana Kostencki
                                                               Florida Bar No. 84507
                                                               akostencki@bergersingerman.com
                                                               Attorneys for Defendant,
                                                               Day To Day Imports, Inc.




                                                    -2-


                    350 East Las Olas Boulevard, Suite 1000 Fort Lauderdale, Florida 33301
                     t: 954-525-9900 | f: 954-523-2872 | WWW .BERGERSINGERMAN.COM
